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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________
GRETCHEN BAILEY,

                              Plaintiff,

                     v.
                                                   Civ. No. 1:21-CV-01203


ELLICOTT DEVELOPMENT OF BUFFALO, LLC,
ELLICOTT DEVELOPMENT COMPANY,
10 ELLICOTT SQUARE COURT CORPORATION,
WILLIAM PALADINO,
and CARL PALADINO,

                              Defendants.
_____________________________________________




          PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                   DEFENDANTS’ MOTION TO DISMISS
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                                       INTRODUCTION

       Plaintiff submits this Memorandum of Law in response to Defendants’ Motion to Dismiss

[Docket. No. 6-1]. Defendants’ motion asks this Court to dismiss Plaintiff’s Second, Fourth, Fifth,

Sixth, Seventh, and Eighth Causes of Action contained in the Verified Complaint. Accordingly,

Defendants do not move to dismiss Plaintiff’s First, Third, Ninth, and Tenth Causes of Action.

       Defendants argue for dismissal by misquoting the Verified Complaint to serve their

arguments, which are supported by mistaken references to the wrong laws, the wrong standards,

or to cases that, but for the abbreviated quotes of the Defendants, are plainly supportive of

Plaintiff’s pleadings.

       Plaintiff submits that Defendants have failed to meet their burden in order to dismiss the

Complaint, and that Defendants’ motion should be denied.



                                        BACKGROUND

       Plaintiff was formerly the Chief Financial Officer for the Defendants. While she was

employed by Defendants Plaintiff discovered that her pay was substantially less than her male

peers. Accordingly, she asked for a raise in the summer of 2018. This request was denied.

Subsequent to her request, Plaintiff was subject to a steady stream of vitriolic statements from her

direct supervisor, Defendant Carl Paladino. Defendant Paladino implied that Plaintiff could be

murdered, labeled the Plaintiff as a socialist, and when she protested, told her that she was

“touchy.” Plaintiff also objected to practices by the Defendants that were illegal regarding the

application of employee sick leave, salaries across employee groups, and other areas. Despite

Defendants’ denials and harassment, Plaintiff continued to request raises and pay increases. For

this, she was terminated.



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                                        LEGAL STANDARD

        On a motion to dismiss under Fed.R.Civ.P. 12(b)(6) (“Rule 12(b)(6)”), the court looks to

the four corners of the complaint and is required to accept the plaintiff's allegations as true and to

construe those allegations in the light most favorable to the plaintiff. Scheuer v. Rhodes, 416 U.S.

232, 236 (1974); Goldstein v. Pataki, 516 F.3d 50, 56 (2d Cir. 2008) (court is required to liberally

construe the complaint, accept as true all factual allegations in the complaint, and draw all

reasonable inferences in the plaintiff’s favor).

        The burden on the movant on a motion to dismiss under Rule 12(b)(6) is one of clarity as

“bald assertions and conclusions of law are not adequate, and a complaint consisting [only of]

naked assertions, and setting forth no facts upon which a court could find a violation of the Civil

Rights Acts, fails to state a claim under Rule 12(b)(6)." Gregory v. Daly, 243 F.3d 687, 692 (2nd

Cir. 2001) citing Yusuf v. Vassar College, 35 F.3d 709, 713 (2d Cir. 1994).

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim will

have ‘facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.’” Sykes v. Bank of

America, 723 F.3d 399, 403 (2d Cir. 2013) (quoting Ashcroft, 556 U.S. at 678); see Twombly, 550

U.S. at 570 (the complaint must plead “enough facts to state a claim to relief that is plausible on

its face”).

        To survive a motion to dismiss, however, a plaintiff asserting employment discrimination

claims “need not allege ‘specific facts establishing a prima facie case of discrimination’” under

McDonnell Douglas. Boykin v. KeyCorp., 521 F.3d 202, 212 (2d Cir. 2008) (quoting



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Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508 (2002)). Specifically, “the McDonnell Douglas

burden-shifting framework ‘is an evidentiary standard, not a pleading requirement’ . . . [such] that

to require more than Rule 8(a)’s ‘simplified notice pleading standard’ would unjustly impose a

heightened pleading requirement on the plaintiff.” Boykin, 521 F.3d at 212 (quoting Swierkiewicz,

534 U.S. at 510, 512-13).

        Regardless of whether Plaintiff’s employment discrimination claims are disparate

treatment or retaliation claims subject to the McDonnell Douglas burden-shifting analysis, or

hostile work environment claims requiring a showing that the workplace was so permeated with

discrimination as to alter the conditions of employment, “[a]sking for plausible grounds to infer

[employment discrimination] does not impose a probability requirement at the pleading stage; it

simply calls for enough facts to raise a reasonable expectation that discovery will reveal evidence

of [employment discrimination].” Twombly, 550 U.S. at 556. “Specific facts are not necessary,”

because the plaintiff “need only ‘give the defendant fair notice of what the claim is and the grounds

upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Twombly, 550 U.S. at

555).



                                          ARGUMENT

   I.      Defendants’ Motion with respect to the Plaintiff’s Hostile Work Environment
           must be denied.

               A. Defendants recite the wrong law to support a deliberately abbreviated
                  quote of the Verified Complaint to make their argument.

        Defendants make vague assertions regarding the basis of the motion to dismiss Plaintiff’s

Sixth Cause of Action regarding her state hostile work environment claim. Defendants’ papers

appear to claim that the Verified Complaint fails to allege severe or pervasive conduct as the


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Defendants state that “no actionable claim exists in the absence of a stead barrage of opprobrious

[discriminatory] comments” and “[i]ndeed, only a few or sporadic such comments… do not give

rise to an actionable claim for hostile work environment” [Docket No. 6-1, pg. 8] and cite to the

egregious nature of a case Defendants claim is analogous [Docket No. 6-1, pg. 9].

       Defendants do not grasp what the laws of the State of New York require. It is an unlawful

discriminatory practice within the State of New York:

       For an employer, licensing agency, employment agency or labor organization to
       subject any individual to harassment because of an individual's age, race, creed,
       color, national origin, sexual orientation, gender identity or expression, military
       status, sex, disability, predisposing genetic characteristics, familial status, marital
       status, domestic violence victim status, or because the individual has opposed any
       practices forbidden under this article or because the individual has filed a
       complaint, testified or assisted in any proceeding under this article, regardless of
       whether such harassment would be considered severe or pervasive under
       precedent applied to harassment claims.

       Executive Law 296(1)(h)(emphasis added).

       As stated in the Verified Complaint itself, New York State law does not require severe or

pervasive conduct in a hostile work environment claim. [Docket No. 1, para. 68]. As a result, the

motion must be denied upon these grounds.

       To the extent that this Court extends a generous interpretation of Defendants’ papers to

include the potential of an implied claim that Defendants argue that the pleadings do not satisfy an

objective standard, such a claim must also be denied.

       First, as Defendants note, such objective or subjective interpretation is not a part of the

prima facie case they refer to in their own papers. [Docket No. 6-1, pg. 8 “a discriminatory hostile

work environment exists where “[w]hen the workplace is permeated with discriminatory

intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter the conditions of

the victim's employment and create an abusive working environment.” Forrest v. Jewish Guild for



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the Blind, 3 N.Y.3d 295, 310 (2004) (internal citations and quotations omitted).”] As held in

Boykin, supra, Plaintiff does not need to establish even a prima facie case.

       But more importantly, Defendants omit the pertinent parts of the pleadings in order to make

their claim that this cause of action should be dismissed. Notably, Defendants completely fail to

recite that Plaintiff states the hostile work environment was based upon, specifically, the

“harassing statements and denial of her requests for raises or fair compensation.” [Docket No. 1,

para. 69](emphasis added). Courts interpret claims with a view for a totality of the circumstances

and that is no different here. See, Schnabel v. Abramson, 232 F.3d 83, 88 (2d Cir. 2000) (quoting

Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 143, 120 S. Ct. 2097, 147 L. Ed. 2d

105 (2000)). The failure to compensate Plaintiff like her male peers is clearly an objective

discriminatory act and imputes a gender basis. Defendants’ willful omission of the pleadings is

an attempt at obfuscation which unfortunately only weakens an already desperate argument.

Accordingly, this motion regarding this claim should be denied.

               B. Defendants cite two cases they mistakenly believe excise discrete acts of
                  discrimination from hostile work environment claims when those cases
                  support Plaintiff’s case in chief.

       Similarly, the Defendants assert that the Plaintiff’s Seventh Cause of Action for a sex-

based hostile work environment claim must fail because “the essence of a hostile work

environment claim is that the harm is not the result of tangible employment actions such as the

denial of pay raises or promotions.” [Docket No. 6-1, pgs. 10-11]. Defendants then claim that the

only acts that comprise a hostile work environment are Defendants’ statements, and that they are

not sufficiently severe or pervasive nor contain any gender bias as required by federal law. [Docket

No. 6-1, pg. 11]. This compartmentalization turns hostile work environment law on its head, is

wrong, and is disproven by Defendants’ own citations.


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               i.      Morgan expressly includes discrete acts of discrimination in hostile
                       work environment claims.

       For their argument, Defendants rely upon two cases: AMTRAK v. Morgan, 536 U.S. 101

(2002) and Gregory v. Daly, 243 F.3d 687 (2nd Cir. 2001). Notably, Defendants do not include

Morgan in the brief’s table of authorities. Perhaps the reason for its omission is because the

holding of Morgan is not what the Defendants represent it to be.

       Defendants claim that Morgan holds that discrete acts of discrimination cannot comprise a

claim of hostile work environment. [Docket No. 6-1, pg. 10]. This is false. Morgan states that

discrete acts are inclusive of hostile work environment claims as:

       “We have repeatedly made clear that although [Title VII] mentions specific
       employment decisions with immediate consequences, the scope of the prohibition
       'is not limited to "economic" or "tangible" discrimination, and that it covers more
       than 'terms' and 'conditions' in the narrow contractual sense. As the Court
       stated in Harris, "the phrase 'terms, conditions, or privileges of employment' [of 42
       U.S.C. § 2000e-2(a)(1)] evinces a congressional intent 'to strike at the entire
       spectrum of disparate treatment of men and women' in employment, which includes
       requiring people to work in a discriminatorily hostile or abusive environment."

       Morgan at 115 (emphasis added)(internal citations omitted).

       Morgan concludes that "Workplace conduct is not measured in isolation . . . ..” Id. Morgan

then goes on to analyze statutes of limitation for its holding, which is completely inapplicable here.

As a result this case fails to support the Defendants’ motion but rather bolsters the Plaintiff’s

pleadings.

       And Morgan is no mere outlier, as the Supreme Court cited Morgan when the Court

reaffirmed that a discrete act "could still be used as part of the basis for a hostile-work-environment

claim, so long as one other act that was part of that same hostile-work-environment claim occurred

within the limitations period." Green v. Brennan, 136 S.Ct. 1769, 1781, n. 7 (2016).




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               ii.     Gregory also supports discrete acts support hostile work environment
                       claims and has an analogous fact patter to Plaintiff’s Verified
                       Complaint.

       Nor is relief found in Gregory either as it does also includes tangible employment actions

within the orbit of hostile work environment claims as it states “harms suffered in the workplace

are cognizable under Title VII, even when they are not the result of "tangible employment actions,"

if they arise from conduct that is "objectively" severe or pervasive.” Gregory at 691.

       In fact, Gregory also supports the Plaintiff’s case by stating unequivocally “Gregory's

pleadings allege a continuous, escalating pattern of conduct that began with insulting and ominous

talk and then increasingly took the form of concrete interference with her job functions (all of

which was serious enough to constitute a hostile work environment), and finally culminated in

tangible employment actions, including her termination.” Gregory v. Daly, 243 F.3d 687, 697.

       Here, Plaintiff alleges that the verbal statements by Defendants preceded the tangible

employment actions that show a discriminatory bias. She was harassed by her supervisors before

she was denied equal pay rates and raises that the males received and chastised for commenting

on the Defendants’ sick leave and disability policies. Plaintiff’s experience is analogous to the

Gregory plaintiff, and Gregory supports the Plaintiff’s pleadings.

       Regarding the unsupported claim in the Defendants’ motion that the Plaintiff fails to claim

a discriminatory bias for the hostile work environment claims, Gregory clearly states that

“[n]othing in our Title VII jurisprudence, however, requires a plaintiff to append to each allegation

of harassment the conclusory declaration "and this was done because of my sex. Instead, what is

needed is the allegation of factual circumstances that permit the inference that plaintiff was

subjected to a hostile work environment because of her sex.” Gregory v. Daly, 243 F.3d 687, 694

quoting Oncale, 523 U.S. at 80-81. Gregory goes on to explain “Similarly, this court has found



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workplace situations discriminatory under a hostile work environment theory where the conduct

at issue, though lacking any sexual component or any reference to the victim's sex, could, in

context, reasonably be interpreted as having been taken on the basis of plaintiff's sex.” Gregory at

695, collecting cases. Such an analysis is applicable here and must result in a denial of the

Defendants’ motion.

         In sum, as the Verified Complaint alleges that hostile work environment is based upon

“harassing statements and denial of her requests for raises or fair compensation” [Docket No. 1,

para. 69] and Defendants are unable to separate the discrete acts from the statements and thus fail

to support their motion to dismiss. Accordingly, the motion must be denied.


   II.      Defendants’ Title VII arguments fail to identify the Plaintiff’s claims and recite
            the wrong law, again.

                A. Defendants’ papers fail to identify Plaintiff’s Title VII claim entirely and
                   argue against a strawman for four pages.

         Defendants claim that Plaintiff’s Second Cause of Action “appears to be EDC’s election to

terminate Plaintiff’s employment.” [Docket No. 6-1, pg. 14]. Defendants spend four pages of

their brief arguing that Plaintiff’s termination is not sufficient under a Title VII claim.

         A cursory reading of the Verified Complaint shows that the Second Cause of action for

sex-based discrimination is for the disparate pay. [Docket No. 1 paras. 49-60]. Thus, Defendants’

arguments can be discarded.

         Furthermore, Defendants concede that the allegations within the complaint regarding sex-

based disparate pay are duly plead as they recite the caselaw which affirms Plaintiff’s pleadings,

stating “[a] plaintiff may support an inference of the link between racial [sic] animus and adverse

treatment by, among other ways, alleging (1) that similarly situated employees of a different

gender were treated more favorably than the plaintiff…” [Docket No. 6-1, pg. 15 citing Littlejohn

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v. City of New York, 795 F.3d 297, 311 (2nd Cir. 2015)]. Therefore, the details in the Verified

Complaint alleging that Plaintiff was paid less than her male peers [Docket No. 1 paras. 49-60]

satisfies the pleading elements for Plaintiff’s Title VII claim.

             B. Defendants recite the incorrect law for a retaliation claim and mistakenly
                 believe the threshold is membership in a protected class.
       Defendants fold their arguments regarding Plaintiff’s Fourth Cause of Action for sex-based

retaliation under the same heading as their arguments for Title VII, a mistake as retaliation has

different elements for a prima facie case.

       With regard to a Title VII retaliation claim, a plaintiff must allege that: “(1) defendants

discriminated – or took an adverse employment action – against him, (2) ‘because’ he has opposed

any unlawful employment practice.” Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72 (2nd

Cir. 2015) quoting 42 U.S.C. § 2000e-3(a). Notably, membership in a protected class is not an

element of a retaliation claim.

       Despite this, Defendants argue that “there are simply no allegations whatsoever supporting

the inference that Plaintiff’s salary or her termination were due to gender-based animus, much less

allegations to render her claim plausible under the Twombly/Iqbal standard.” [Docket No. 6-1,

pg. 16]. As addressed supra, Plaintiff’s allegations that she was paid less than her male peers meet

the standard for Title VII claims as Defendants concede. However, the threshold in a retaliation

claim is not membership in a protected class but engagement in protected activity.

       Regarding all forms of retaliation, whether under New York State law, Title VII, or the

Americans with Disabilities Act, Plaintiff clearly plead that her protected activity was “raising

issues for various employees regarding the Defendants’ tally of those employees’ sick leave; 2)

complaining to Defendants that their conduct violated various laws; 3) complaining to Defendant

Carl Paladino that Plaintiff was paid less than her male comparator and asking for a raise.” [Docket


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No. 1, para. 63]. Thus, Plaintiff met her protected activity burden and had so articulated it in the

Verified Complaint. Accordingly, Defendants’ motion must be denied.

   III.      Defendants, again, recite the incorrect law when arguing against Plaintiff’s
             Americans With Disabilities Act Causes of Action for 5th Retaliation (the Fifth
             Cause of Action) and Hostile Work Environment (the Eighth Cause of Action).

          Defendants’ motion regarding the Americans with Disabilities Act recites a prima facie

case of intentional discrimination and asserts the basis of their motion to dismiss is Plaintiff’s

failure to allege she was a member of the protected class. [Docket No. 6-1, pgs. 17-18]. However,

the Verified Complaint alleges discrimination under the Americans with Disabilities Act as an act

of retaliation (Verified Complaint para. 65) and under a hostile work environment theory (Verified

Complaint pg. 9). Therefore, Defendants’ standard is incorrect, and the motion must be denied.

                A. Membership in a protected class is not an element of a retaliation claim –
                    opposing unlawful employment practices is.
          Defendants falsely assert that the plaintiff is required to “prove two elements: (1) that she

has a physical or mental impairment; and (2) that such impairment substantially limits one or more

of her major life activities.” [Docket No. 6-1, pg. 17]. As stated supra, Plaintiff is not required to

assert a prima facie case at the pleading stage, much less “prove” one as Defendants claim.

          Moreover, retaliation does not require membership in the protected class as a prima facie

case of retaliation consists of a showing, again, that “1) defendants discriminated – or took an

adverse employment action – against him, (2) ‘because’ he has opposed any unlawful employment

practice.” Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72 (2nd Cir. 2015) quoting 42

U.S.C. § 2000e-3(a).

          Here, the pleading requirement does not demand that the claim include membership within

the class. As stated supra, Plaintiff has pled her protected activity and the corresponding adverse




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actions for her retaliation claims, including this one. As the sole basis of the Defendants’ motion

to dismiss, Defendants’ motion necessarily fails.

               B. Defendants’ own citations to the prima facie case for Hostile Work
                  Environment defeats their argument for dismissal of Plaintiff’s claim.

       Defendants also claim that Plaintiff is required to show her membership in a protected class

in order to assert her hostile work environment claim under the ADA. However, as the Defendants

previously conceded, “[t]o establish a hostile work environment under federal law, in general, a

plaintiff must show that “the workplace is permeated with discriminatory intimidation, ridicule,

and insult, that is sufficiently severe or pervasive to alter the conditions of the victim's

employment.” Cruz v. Coach Stores, Inc., 202 F.3d 560, 570 (2d Cir.2000) (internal quotations

omitted).” [Docket No. 6-1, pg. 11]. Therefore, Defendants concede that membership in a

protected class is not an element of a hostile work environment claim under the ADA. Instead,

the Verified Complaint is replete with allegations of the discriminatory intimidate, ridicule, and

insult that Plaintiff suffered at the hands of the Defendants which were articulated and discussed,

supra. Accordingly, as the sole basis of the motion to dismiss only concerned membership in the

class, the Defendants’ action must fail based on the Defendants’ own recitation of the prima facie

case of a hostile work environment claim.




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                                           CONCLUSION

          For the foregoing reasons, Defendants’ motion fails to cite the correct legal standards and

the relevant portions of the Verified Complaint. Instead, Defendants’ papers attempt to invite this

Court to error by misquoting both the law and the facts. Therefore, Defendants’ motion must be

denied.

          Plaintiff respectfully requests oral argument on this motion and leave to replead should the

Court dismiss any causes of action.


Dated:           February 18, 2022
                 Buffalo, New York


Respectfully Submitted,



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